     Case 22-18518-ABA           Doc 18      Filed 03/23/23 Entered 03/23/23 14:28:57                Desc 3004
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                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                         Case No.: 22−18518−ABA
                                         Chapter: 13
                                         Judge: Andrew B. Altenburg Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Teresa M Sisco
   520 Collings Ave, Apt B316
   Oaklyn, NJ 08107
Social Security No.:
   xxx−xx−8657
Employer's Tax I.D. No.:


                         Notice of Filing of Proof of Claim Pursuant to Fed.R.Bank.P. 3004


       Please be advised that Teresa M. Sisco the Debtor in the above captioned case filed a proof of claim on behalf
of the following creditor(s) on March 22, 2023.

Parkview Holdings Investor, LLC




Dated: March 23, 2023
JAN: eag

                                                                     Jeanne Naughton
                                                                     Clerk
